Case 9:12-cv-00630-| ls Document 17-2 Filed 02/08/12 Page 1 of 2

Case 5:12-cv-00630-LHK Document17-2 Filed 02/08/12 Page 2 of 2

Exhibit 2 — List of Materials Considered
U.S. Patent No. 8,046,721
Prosecution History for U.S. Patent No. 8,046,721, including prior art cited therein
Samsung Galaxy Nexus

Specifications for Samsung Galaxy Nexus (available at
http://www.google.com/nexus/#/tech-specs)

Samsung Galaxy Nexus User Guide (available at
http://static.googleusercontent,com/external content/
untrusted dlcp/www.google.com/en/us/help/he/pdfs/mobile/AndroidUsersGuide-40-en.pdf)

Relevant portions of Android 4.0 source code (available at
http://www.google.com/nexus/#/tech-specs and
http://source.android.com/source/downloading.html)

Apple iPhone 4S, iPad 2 and iPod Touch

Specifications for Apple iPhone (available at http://www.apple.com/iphonespecs.html.)

“Compare iPhone models” (available at http://www.apple.com/iphone/compare-iphones/)

“Apple iPhone 4S: Thoroughly Reviewed” (available at
http://www.anandtech.com/show/4971)

